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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-1(b)

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     -and-

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     Counsel for (1) Leeward Renewable Energy, LLC, on Chapter 11
     behalf of Rabbitbrush Solar, LLC, Chaparral Springs,
     LLC, and Antelope Valley BESS, LLC, (2) Longroad Case Number: 25-16137 (MBK)
     Development Company, LLC, on behalf of Serrano Solar,
     LLC, Sun Streams PVS, LLC, and Sun Streams Jointly Administered
     Expansion, LLC, and (3) DTE Electric Company

     In Re:                                                           Hearing Date: July 15, 2025 at 11:30 A.M.
                                                                      (ET)
     POWIN, LLC, et al.,1
                                                                      Objection Deadline: July 8, 2025
                Debtors.


 1
              The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
              identification number, are: (i) Powin Project LLC [1583], (ii) Powin, LLC [0504], (iii) PEOS Holdings, LLC
              [5476], (iv) Powin China Holdings 1, LLC [1422], (v) Powin China Holdings 2, LLC [9713], (vi) Charger
              Holdings, LLC [5241], (vii) Powin Energy Ontario Storage, LLC [8348], (viii) Powin Energy Operating
              Holdings, LLC [2495], and (ix) Powin Energy Operating, LLC [6487]. The Debtors’ mailing address is 20550
              SW 115th Avenue Tualatin, OR 97062.
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           NOTICE OF HEARING ON EMERGENCY MOTION OF LICENSEES
     FOR ENTRY OF AN ORDER (I) COMPELLING THE DEBTORS TO COMPLY WITH
      SECTION 365(N)(4) OF THE BANKRUPTCY CODE, (II) GRANTING ADEQUATE
         PROTECTION UNDER SECTION 363(E) OF THE BANKRUPTCY CODE,
                AND (III) GRANTING OTHER APPROPRIATE RELIEF


                  PLEASE TAKE NOTICE, that Leeward Renewable Energy, LLC on behalf of

 Rabbitbrush Solar, LLC, Chaparral Springs, LLC, and Antelope Valley BESS, LLC (collectively,

 the “Leeward Licensees”), Longroad Development Company, LLC, 2 on behalf of Serrano Solar,

 LLC, Sun Streams PVS, LLC, and Sun Streams Expansion, LLC (collectively, the “Longroad

 Licensees”), and DTE Electric Company (DTE and together with the Leeward Licensees and the

 Longroad Licensees, the “Licensees”), by and through its undersigned counsel, filed the

 Emergency Motion of Licensees for Entry of an Order (I) Compelling the Debtors to comply with

 Section 365(n)(4) of the Bankruptcy Code, (II) Granting Adequate Protection under Section 363(e)

 of the Bankruptcy Code, and (III) Granting Other Appropriate Relief (the “Motion to Compel”)

 [Docket No. 117].


                  PLEASE TAKE FURTHER NOTICE that concurrently with the filing of the

 Motion to Compel, the Licensees filed an Application for Order Shortening Time for Notice of (A)

 the Emergency Motion of Licensees for Entry of an Order (I) Compelling the Debtors to Comply

 with Section 365(n)(4) of the Bankruptcy Code, (II) Granting Adequate Protection Under Section

 363(e) of the Bankruptcy Code, and (III) Granting Other Appropriate Relief and (B) Motion for

 Entry of an Order Authorizing Licensees to Redact and File Under Seal Confidential Information



 2
  Please note that the correct name of this entity is “Longroad Development Company, LLC.” All prior references to
 “Longroad Energy Holdings, LLC” or “Longroad Energy Partners” in earlier filings in these Chapter 11 Cases shall
 be deemed to refer to “Longroad Development Company, LLC.”




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 Contained in the Energy Supply Agreements and Long Term Services Agreements in Connection

 with the Licensees Motion to Compel (the “Application for Shortened Time”) [Docket No. 119].

                PLEASE TAKE FURTHER NOTICE that the Debtors and the Licensees

 conferred following the filing of the Application for Shortened Time and the hearing before the

 Court held on June 24, 2025, wherein the Debtors and the Licensees agreed to have the Motion to

 Compel heard on July 15, 2025 under a normal briefing schedule pursuant to D.N.J. LBR 9013-2.


                PLEASE TAKE FURTHER NOTICE that responses or objections, if any, to the

 Motion to Compel must be made in writing, and must be filed with this Court and served upon

 Pashman Stein Walder Hayden, P.C., 21 Main Street, Suite 200 Hackensack, New Jersey 07601,

 John W. Weiss (jweiss@pashmanstein.com), Leah M. Eisenberg (leisenberg@pashmanstein.com)

 and David E. Sklar (dsklar@pashmanstein.com), Mayer Brown LLP, 1221 Avenue of the

 Americas, New York, New York 10020, Joaquin M. C de Baca (jcdebaca@mayerbrown.com),

 Richard A. Stieglitz (rstieglitz@mayerbrown.com) and Youmi Kim (ykim@mayerbrown.com) no

 later than July 8, 2025.


                PLEASE TAKE FURTHER NOTICE that the Debtors and the Licensees further

 agreed that any reply to any objection or response to the Motion to Compel must be filed by the

 Licensees no later than July 11, 2025.


                PLEASE TAKE FURTHER NOTICE that a hearing to consider the Motion to

 Compel is scheduled to be held before the Honorable Michael B. Kaplan, United States

 Bankruptcy Judge, at the United States Bankruptcy Court for the District of New Jersey, via Zoom,




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 on July 15, 2025 at 11:30 A.M. (ET). Parties who wish to attend via Zoom must request panelist

 status by emailing Chambers at chambers_of_mbk@njb.uscourts.gov.

               PLEASE TAKE FURTHER NOTICE that, in the event that timely objection is

 not filed with the Court and served upon the undersigned counsel by the Objection Deadline, and

 as provided in the District of New Jersey Local Bankruptcy Rules 9013-1(a) and (f), the Motion

 to Compel shall be deemed uncontested and the Court may, in its discretion, grant the requested

 relief.

 Dated: June 27, 2025                       Respectfully submitted,

                                            /s/ Leah M. Eisenberg
                                            John W. Weiss
                                            Leah M. Eisenberg
                                            David E. Sklar
                                            PASHMAN STEIN WALDER HAYDEN, P.C.
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                                                    dsklar@pashmanstein.com

                                            -and-

                                            Joaquin C de Baca (admitted pro hac vice)
                                            Richard A. Stieglitz (admitted pro hac vice)
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                                            YKim@mayerbrown.com

                                            Counsel for (1) Leeward Renewable Energy, LLC, on
                                            behalf of Rabbitbrush Solar, LLC, Chaparral Springs,




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                                      LLC, and Antelope Valley BESS, LLC, (2) Longroad
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                                      LLC, and (3) DTE Electric Company




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